&lt;HTML&gt;
&lt;HEAD&gt;
&lt;META NAME="Generator" CONTENT="WordPerfect 9"&gt;
&lt;TITLE&gt;&lt;/TITLE&gt;
&lt;/HEAD&gt;
&lt;BODY TEXT="#000000" LINK="#0000ff" VLINK="#551a8b" ALINK="#ff0000" BGCOLOR="#c0c0c0"&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: CG Times Regular" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;
&lt;CENTER&gt;NO. 03-9&lt;A NAME="1"&gt;9&lt;/A&gt;-00&lt;A NAME="2"&gt;300&lt;/A&gt;-CR&lt;/CENTER&gt;


&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;



&lt;CENTER&gt;&lt;A NAME="3"&gt;Thomas Martindale&lt;/A&gt;, Appellant&lt;/CENTER&gt;


&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-family: CG Times Regular" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;TRAVIS&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;299TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;0981530&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;JON N. WISSER&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;


PER CURIAM

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Appellant's motion to dismiss this appeal is granted.  &lt;EM&gt;See&lt;/EM&gt; Tex. R. App. P. 42.2(a). 
The appeal is dismissed.&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Before Chief Justice Aboussie, Justices Kidd and Patterson&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Dismissed on Appellant's Motion&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Filed:   August 26, 1999&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt;

&lt;/BODY&gt;
&lt;/HTML&gt;
